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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

UNITED STATES OF AMERICA                    §
                                            §
VS.                                         §          CR. NO. 4:17-cr-00737-1
                                            §
KAAN SERCAN DAMLARKAYA                      §

           UNOPPOSED MOTION TO CONTINUE SENTENCING
             AND TO ENTER A NEW SCHEDULING ORDER

TO THE HONORABLE ANDREW S. HANEN, UNITED STATES DISTRICT
JUDGE FOR THE SOUTHERN DISTRICT OF TEXAS, HOUSTON DIVISION:

       NOW COMES, Defendant, KAAN SERCAN DAMLARKAYA, in the above-

captioned matter, by and through his undersigned counsel, respectfully moves this

Honorable Court to continue the sentencing and to enter a new scheduling order in his

case and for good cause would show as follows:

                                            I.

       Sentencing is currently scheduled on July 13, 2020 at 8:30 a.m.

                                            II.

       Counsel for Defendant requests a continuance for the following reasons:

       (1) Counsel has not been able to meet with Mr. Damlrakaya since early March

2020. Since mid-March 2020, the COVID-19 pandemic has forced closure for in

person visits at the FDC (Federal Detention Center in Houston). The original order was

to close the facility for thirty (30) days, but the facility has remained closed and likely
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will be for the near future.

       (2) Counsel and Mr. Damlarkaya need time to meet in person to discuss

sentencing and finalize preparation for sentencing. Further, both Counsel and Mr.

Damlarkaya request for the sentencing to take place in person, at the courthouse, rather

than via Cisco video feed.

                                          III.

       Assistant United States Attorney’s Alamdar Hamdani and Arthur Jones are

unopposed to the continuance.

                                          IV.

       This motion for continuance is not made for purposes of delay, but that justice

may be done. For all the foregoing reasons, Counsel for Mr. Damlarkaya requests a

continuance of the sentencing date for at least one hundred twenty (120) days.
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                               Respectfully submitted,




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                               Attorney for Defendant,
                               KAAN SERCAN DAMLARKAYA
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                        CERTIFICATE OF CONFERENCE

       Counsel for Mr. Damlarkaya conferred with AUSA’s, Alamdar Hamdani and

Arthur Jones concerning their position on this Unopposed Motion to Continue

Sentencing. They are unopposed.




                                        GARY TABAKMAN


                              CERTIFICATE OF SERVICE

       I hereby certify that on July 5, 2020, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system, which will send notification of

such filing to all parties.




                                        GARY TABAKMAN
